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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

DOCKET NO. 4:19cv-11093-TSH

 

PAUL JONES

Plaintiff
DEFENDANTS’ LOCAL RULE 56.1
V. STATEMENT OF FACTS

MONTACHUSETT REGIONAL TRANSIT
AUTHORITY, et al.

Defendants

 

 

Defendants, Montachusett Regional Transit Authority (“MART”), and Rebecca Badgley,
Donna Landry, Bonnie Mahoney, Karen Cordio, Joanne Norris, Stephanie Richards, Tamara
Shumovskaya, Jessica Torres, Amanda Kukta, Robert Monk, Michelle Moyo, Ivan Roman, and
Crystal Geisert (collectively “Individual Defendants”) (when inclusive of MART, collectively
Defendants’) set forth the following statement of undisputed material facts in support of
Defendants’ Motion for Summary Judgment pursuant to Local Rule 56.1 as follows:
1. Plaintiff, Paul Jones (‘‘Plaintiff’) is a Director, dispatcher and driver for Commonwealth
Community Recovery Division, Inc. “*(CCRD”). Complaint, § 42.!
2. MART isa regional transportation authority established pursuant to G.L. c. 161B. Exhibit
A, Affidavit of Rebecca Badgley, | 2; G.L. c. 161B.
3. MART provides public transportation services to twenty-two (22) cities and towns in

north central Massachusetts. Exhibit A, § 3

 

' Complaint shall refer to Second Verified Amended Complaint filed on March 27, 2020,
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Through its Dial-A-Mart Service, MART provides transportation that serves the needs of
either human services agencies or target populations through eligible agency sponsored
trips. Exhibit A, 3.

MART also provides transportation through its operating company for the
Commonwealth of Massachusetts’s Human Services Transportation Division of the
Executive Office of Health and Human Services (““EOHHS”). MART provides routes for
the Department of Developmental Services (“DDS”) as well as individual MassHealth
client rides on an as needed basis. Exhibit A, | 5

The Commonwealth has established a statewide Human Services Transportation
coordination initiative, which utilizes a Broker system of managing transportation
services for eligible consumers from various programs and agencies (“HST Brokerage
System”). Selected Regional Transit Authorities such as MART act as HST Brokers and
arrange transportation by subcontracting with qualified Transportation Providers. The
contractual agreement between the HST Broker and the Transportation Provider is
referred to as the “Transportation Provider Subcontract.” Exhibit A, J 6.

All Transportation Providers (“Transportation Providers” or “Vendors”) are required to
comply with the Transportation Provider Performance Standards (‘‘Performance
Standards”). Exhibit A, 7.

MART has Transportation Provider Subcontracts with over two hundred (200) Vendors.
The Performance Standards are incorporated into all Transportation Provider

Subcontracts that MART has with its over two hundred Vendors. Exhibit A, § 8.
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MART entered into a Transportation Provider Subcontract (“Subcontract’’) with CCRD
on October 26, 2015. CCRD executed the Transportation Provider Sub-Contract with
MART on December 12, 2015. Exhibit A, { 9.

Under the Performance Standards contained in the Subcontract, a Transportation Provider
is defined as a “local transportation delivery entity under contract to a Broker for the
direct provision of transportation services (vehicles and drivers) for HST Consumers. The
Performance Standards specifically provide that the Transportation Provider is a
“subcontractor to the Broker” and is subject to the provisions of the Commonwealth
Terms and Conditions and Standards Contract terms. Exhibit A, JJ.

Pursuant to Performance Standards, Transportation Providers such as CCRD are required
to maintain workers compensation insurance for all employees/agents including owner(s)
in the case of a sole proprietorship and to furnish a certificate of insurance to [MART]
evidencing compliance prior to transporting any Agency Consumers. Exhibit A, § 12.
CCRD was placed on a no-work hold in April 2020 due to the expiration of CCRD’s
workers compensation insurance. Exhibit B - Email dated September 9, 2020.

In addition, the Performance Standards require Transportation Providers to maintain
liability insurance on all vehicles used under the Transportation Provider’s contract with
the Broker and that Broker be named as an additional insured on the Transportation
Provider’s insurance policy. Exhibit A, §, 13; Exhibit C — Deposition of Rebecca

Badgley, p. 48.
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As acourtesy, MART provides a new vendor, portal training before MART assigns work
to the vendor so that the vendor understands how the system works. The training
describes how the vendor will accept the work being offered, how the billing will be done
and how to file and respond to complaints. Exhibit C, pp. 27-29.

MART uses an online portal system to assign rides to its Transportation Providers. The
portal system assigns rides to the lowest cost qualified Transportation Provider. If the
lowest cost qualified Transportation Provider does not accept the ride, the online portal
system goes down the list to the next lowest cost qualified Transportation Provider.
Exhibit A, J 14.

Transportation Providers submit rates to MART for use in the vendor portal system.
Vendors are allowed to adjust their rates quarterly. MART does not set vendor rates.
Exhibit A, 4 15.

Plaintiff submitted CCRD’s rates to MART and changed CCRD’s rates on occasion.
Exhibit D — Emails between Plaintiff and MART.

Transportation Providers set the hours that the Transportation Provider is willing to work.
MART does not set the hours that the Transportation Provider is available to work.
Exhibit A, | 16.

Plaintiff set the hours that CCRD was willing to work. Exhibit D.

The capacity tab in the portal system contains the vendor’s hours of service. Exhibit C,
pp. 75-76.

The Transportation Provider portal starts to assign trips to Transportation Providers
beginning with the lowest cost qualified vendor for trips three or more days in advance of

the scheduled trip. Exhibit A, § 17.
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For next day or same day requests for transportation, MART assigns the trips to
Transportation Providers by telephone. As with the vendor portal system, MART assigns
trips to its Vendors starting with the lowest cost qualified Vendor. MART attempts to
contact the Transportation Providers three times by telephone to offer the trips before
moving on to the next lowest cost Vendor. Exhibit A, 4 18; Exhibit C, p. 45.

If a vendor marks the vendor’s portal as full for a particular day, the call out system will
stop the call out system from offering the vendor work for that particular day. Exhibit C,
p. 46.

Ultimately a vendor controls what assignments offered to the vendor, the vendor accepts
or declines. While the capacity tab shows what hours the vendor operates and the volume
of work being offered, the vendor controls what assignments to accept. The capacity is
based on what a vendor’s fleet size can handle in the course of a day. Exhibit C, pp. 76-
79, Exhibit D.

If a trip is already assigned to a vendor and the consumer calls to change the time, if it is
in advance, MART will notify the vendor in the vendor portal and the vendor can then
notify MART if the vendor cannot accommodate the change. Ifthe customer requests a
change the same or next day, MART calls the vendor to see if the vendor can
accommodate the change that was made by the customer. Exhibit C, pp. 49-51.

If there is a particular individual that the vendor such as CCRD no longer wants to
transport, the vendor can notify MART and MART will remove the individual from
being offered to the vendor in the future. A vendor does not have to get permission from

MART to drop an individual. Exhibit C, p. 29.
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If the vendor already has the individual scheduled for a trip, the vendor has to inform
MART that the vendor no longer wants to transport the individual so that the individual’s
trip can be rescheduled. Exhibit C, p. 30.

Pursuant to the Subcontract a vendor is supposed to update its employee log when a
vendor’s employees change. Exhibit C, pp. 65-66.

A vendor does not have to seek MART’s approval to hire an employee. Pursuant to the
Subcontract for a vendor’s employee to drive agency consumers, the vendor’s employee

must meet the requirements set forth in the Subcontract. Exhibit C, pp. 66-67.

. MART is not the hiring or the firing authority for a vendor’s employees, but by contract

MART has the right to request the removal of an individual from working on MART’s
contract. Exhibit C, pp. 31-32, 37-39.

MART controls the amount of work a vendor can request in its capacity tab based on the
size of the vendor’s fleet. Mart controls the work to be offered a vendor based on the
number of vehicles the vendor has and the size of the vehicles. Exhibit C, pp. 34-35.
CCRD submitted its requested rates to MART. The rates submitted by CCRD were
higher than those of many other MART vendors providing services to EOHHS. Exhibit
A, { 21. Exhibit D.

CCRD also set the hours it was willing to provide transportation services pursuant to the
contract from 7:00 a.m. to 3:00 p.m. MART did not set the hours during which CCRD

could provide transportation services. Exhibit A, | 22; Exhibit D.
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Dated: July 29, 2021

771819/MART/0006

DEFENDANTS

MONTACHUSETT REGIONAL TRANSIT
AUTHORITY, REBECCA BADGLEY,
DONNA LANDRY, BONNIE MAHONEY,
KAREN CORDIO, JOANNE NORRIS,
STEPHANIE RICHARDS, TAMARA
SHUMOVSKAYA, JESSICA TORRES,
AMANDA KUKTA, ROBERT MONK,
MICHELLE MOYO, IVAN ROMAN, and
CRYSTAL GEISERT

By their attorneys,

/s/ Deborah |. Ecker

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CERTIFICATE OF SERVICE

 

I, Deborah I. Ecker certify that the above document will be served by first-class mail
upon any party or counsel of record who is not a registered participant of the Court's ECF

system, upon notification by the Court of those individuals who will not be served electronically.

Date: July 29, 2021 /s/ Deborah |. Ecker
